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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)


      VERISIGN, INC.,

                           Plaintiff,

                   v.
                                                                 Case No. 1:14-cv-01749-CMH-MSN
      XYZ.COM, LLC, et al.,

                           Defendants.



                     PLAINTIFF’S MOTION FOR ADVERSE INFERENCE
                     AND INCORPORATED MEMORANDUM IN SUPPORT

           Plaintiff VeriSign, Inc. (“Verisign”) moves for an adverse inference arising out of

  Defendants’ failure to produce a full and complete General Ledger in native format. As set forth

  below, Defendants have never cured a refusal to produce a key document subject to a request for

  production issued the day after discovery commenced. Five months after it was due—and after

  extensive motions practice—Defendants’ accountant finally produced a 14 page General Ledger

  in .pdf form – a document in possession of both XYZ and the accountant – which contains six

  suspicious line entries for the                                at the heart of this lawsuit. But

  Defendants still refuse to produce this document in full and native form ordered by this Court so

  that Plaintiff could view what Defendants’ accountant testified was additional information,

  including metadata that relates to the                                . Consistent with this

  Court’s order for native production, the Fourth Circuit notes that metadata observable from

  native production can yield “crucial evidence.”1


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   Country Vintner of North Carolina, LLC v. E&J Gallo Winery, Inc., 718 F.3d 249, 253 n.4 (4th
  Cir. 2013).
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         This violation of discovery obligations comes after a long history of Defendants

  attempting to hide responsive information, which to this day has been improperly withheld. An

  adverse inference instruction is the appropriate remedy for Defendants’ discovery misconduct.

                                         INTRODUCTION

         1.      Defendants’ General Ledger is critical evidence because it contains the financial

  entries concerning the                                at the heart of this case.

         2.      Verisign contends that Defendants’ promotional statements about their financial

  performance are false and misleading under the Lanham Act. As relevant here, Verisign

  contends that the



                                                            —and then blatantly violate the

  Lanham Act by stating that Defendants have “sold” the domain names that were stuffed (and

  asserting that they are the number one “selling” new gTLD and that these “sales” generated over

  $5 million in “revenue” in XYZ’s first six months).

         3.      Verisign has sought Defendants’ financial records related to the Network

  Solutions transaction since the inception of this case—and the Court has expended resources

  ordering Defendants to produce this information.

         4.      Defendants’ accountant produced a .pdf copy of a General Ledger only after

  discovery closed, and only after Defendants violated orders from this Court and attempted

  (unsuccessfully) to circumvent an order from a federal court in California (where their

  accountant resides). As XYZ knew, a .pdf of a General Ledger is grossly insufficient because the

  accountant testified at deposition that the native form contains additional information about



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                                 in a “drop down” screen that Defendants did not produce. In fact,

  the General Ledger is never used as a .pdf in the ordinary course of business; instead, it is a set of

  data that XYZ and its accountant use in electronic form (a reality of modern business practice

  that justified this Court’s prior Order that documents be produced in native format). ECF 87,

  6/12/15 Hr’g Tr. 31:20-32:1, attached as Exhibit B to Weigand Decl.

           5.      Verisign demanded immediate production of the complete and native form of the

  General Ledger but Defendants never produced it.

           6.      Trial is less than three weeks away. The parties’ dueling accounting experts have

  been deposed. Discovery is closed. Even if Defendants produce the complete and native form of

  the General Ledger today, Verisign would be deprived of its rights to discovery and analysis

  before trial.

           7.      For the reasons explained below, Verisign requests that the Court fashion an

  appropriate remedy, including an instruction that notifies the jurors that Defendants unlawfully

  withheld the General Ledger in violation of Court orders, and that the jury can conclude that the

  information would have supported Verisign’s theory that Defendants received no payments for

  the over 375,000 .XYZ domain names given away by Network Solutions.

                                    RELEVANT BACKGROUND

           8.      On March 31, 2015, the day after discovery commenced, Verisign served its first

  set of discovery requests on Defendant XYZ, which included a request for documents “reflecting

  all payments between any domain registrants (i.e., Network Solutions…) involved in the

  [Network Solutions transaction].” ECF 40-2 (Request 23) (emphasis added).2




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      Verisign made the identical request of Defendant Negari. ECF 40-1 (Request 21).
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         9.       Verisign moved to compel and moved to strike Defendants’ objections. ECF 40.

  At the hearing on this motion, Defense counsel represented that “XYZ and Mr. Negari have not

  declined to produce any documents in response to the discovery requests.” 5/15/15 Hr’g Tr.

  6:17-18, attached as Exhibit A to Weigand Decl. (emphasis added). The Court granted the

  motion to compel and expressly ordered Defendants to communicate any objections that they

  were standing on “immediately, so that those matters can be resolved.” Weigand Decl. Exhibit

  A, Tr. 31:15-20. Defendants never once communicated they were standing on any objection to

  Request 23.

         10.      Defendants knew that financial documents were at issue because they relied on

  them at the same hearing in arguing for an outside counsel’s eyes only Protective Order.

  Weigand Decl. Exhibit A, Tr. 14:9-11 (Defense counsel arguing “most of the documents are

  proprietary, confidential, internal documents. They include financial analysis…”); id. 17:9 (“its

  financials”).

         11.      The parties came before the Court on June 12, 2015 on Verisign’s motion to

  enforce the Court’s prior order and listed Negari RFP 21 as outstanding. ECF 60 ¶5(f). Verisign

  explained that Defendants “have not informed Verisign that they are withholding documents

  based on any objection” and that Defendants are “assisting nonparties in their efforts to avoid

  producing documents in response to Verisign’s subpoenas.” ECF 60 ¶7.

         12.      During the hearing, the Court ruled that Defendants were required to produce

  documents in native form (given the fact that Defendants had previously produced excel

  spreadsheets as .PDF, which generated over 40,000 pages of gibberish).

         13.      In particular, the Court ordered:

                  “[o]n the issue of ESI, clearly you recognize that you must produce
                  documents in a format that both sides are capable of looking at,

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                 whether it’s Relativity, whether it’s some other database, you can
                 talk to each other and figure out the best mechanism for providing
                 it in a native file format, or in Excel if it is Excel, or if it is OCR
                 readable.”

  ECF 87, Hr’g Tr. 31:20-32:1, attached as Exhibit B to Weigand Decl. (emphasis added).

         14.     The Court noted, “[i]t certainly sounds to me like both counsel are articulating

  that they understand there is an obligation and that it is appropriate to produce documents in a

  way that is easily searchable and manipulable by the other side so that they can look at what

  they have and understand it.” Weigand Decl. Exhibit B, Tr. 22:19-24 (emphasis added).

         15.     As with most critically important documents, the General Ledger in native form is

  responsive to multiple requests, not just Negari 21 and XYZ 23, but also requests for “all audited

  and unaudited financial statements, including but not limited to, income statements, balance

  sheets, cash flow statements, and documents reflecting operating expenses from January 1, 2012

  to present” and “Documents sufficient to show whether payments from Web.com and/or

  Network Solutions to you for sales of .XYZ domain names are reported as revenue on XYZ’s

  books, records, and financial statements.” See Weigand Decl. Exhibit C. (Requests 28 and 30).

         16.     Verisign again moved to compel, and the Court ordered XYZ to “produce all

  relevant documents” by July 29, 2015. ECF 167. Defendants again failed to produce the General

  Ledger. Verisign again moved to compel on August 7, 2015. See ECF 193. In that motion,

  Verisign explained that “[i]nstead of fully complying with the Court order, Defendants produced

  some information when due, but have not produced documents in the possession of their

  accountant… Defendants have actually interfered with Plaintiff’s subpoena to [the accountant],

  requiring unnecessary motions practice in California.” Id. ¶3.

         17.     During the Court’s hearing, Defendants’ counsel assured the Court that all

  documents had been produced on multiple occasions:


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                 MR. BATTLE: On that legal issue, no, sir. But they have given --
                 XYZ.com and Daniel Negari through counsel have given VeriSign
                 tax returns and the financial payments, period. That's all there is.
                 So they have turned -- they have turned that material over. It's a
                 nonissue.

                 THE COURT: So let me make sure I'm understanding the full
                 universe of the facts and the information here. Are you telling me
                 that the defendants have gone to the accountant, Mr. Aziz-Lavi,
                 and obtained from him all of the documents that are responsive to
                 document requests number 28, 29 and 30?

                 MR. BATTLE: I believe so, Your Honor, yes. They have turned
                 over everything that -- responsive to that. There is a few -- I will
                 try to answer your questions as directly as
                 I can, and then there are a couple of points that I think are
                 important. Yes, I believe they've turned over everything…

  8/14/15 Hr’g Tr. 5:17-6:8, attached as Exhibit D to Weigand Decl. (emphasis
  added).

         18.     The Court asked probing questions about this representation:

                 THE COURT: So your representation to the Court is that defense
                 counsel has communicated with Mr. Aziz-Lavi, asked him for the
                 documents that are responsive to those document requests that are
                 required to be produced, collected that information, and provided
                 it to the plaintiff already?

                 MR. BATTLE: Yes, sir. Because this is -- what is confusing about
                 this is there are financial statements and there are tax returns, and
                 they have been turned over. And whatever data they get from -- to
                 the raw data that ends up in this format, went to the accountant.
                 And then they become financial statements or tax returns. And
                 they have turned those over.

  Weigand Decl. Exhibit D, Tr. 6:23-7:9 (emphasis added).

         19.     The Court ordered that Defendants “certify that they have in fact, the defense, all

  of the defendants have communicated with the accountant previously and obtained documents

  that are responsive, and turn those documents over.” Weigand Decl. Exhibit D, Tr. 17:2-5.

         20.     The Court expressly warned all parties that: “If it turns out that there are

  documents that have not been turned over and that leads to a late production, I will entertain a

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  motion that is not before the Court right now with regard to what the appropriate remedy is.”

  Weigand Decl. Exhibit D, Tr. 18:1-4; see also ECF 212 (Order).

          21.    On August 17, Defendants filed an unsigned certification stating that Defendants

  “confirmed that all responsive documents were produced and forwarded documents for our

  review.” ECF 214. Defendants assured the Court that “the only other responsive documents the

  accountant has are year-over-year comparisons generated for XYZ’s 2012, 2013, and 2014

  balance sheets and profit-and-loss statements,” and such information was already produced. Id.

          22.    Unfortunately, Defendants never turned over all responsive documents provided

  to their accountant. Defendants did not turn over the General Ledger—reflecting the precise line

  entries of                                    . Defendants had the General Ledger in their

  possession the entire time. After multiple motions, Court orders, and certifications to the

  contrary, XYZ withheld this document.

          23.    Verisign received an incomplete form of a General Ledger, but only after three

  months of motions practice in California over Verisign’s subpoena to Defendants’ accountants, a

  dispute that was initiated and supported by Defendants’ counsel. In California, Defendants—not

  the third-party accountant—moved to quash the subpoena on June 17. In a coordinated strategy,

  Defendants obtained a declaration from the accountant stating that it would require “two

  employees to spend nearly 350 hours devoted to locating and producing responsive documents”

  related to three categories in the subpoena. Weigand Decl. Exhibit E. On August 26, the federal

  court in California ordered the accountant to produce XYZ’s General Ledger no later than

  September 9. Weigand Decl. Exhibit F. On September 3, Defendants filed an ex parte

  application with the California Court, again asking the Court to allow them to withhold

  production of the General Ledger. Weigand Decl. Exhibit G. The federal court in California



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  immediately rejected Defendants’ motion and held it was “wholly insufficient to warrant the

  relief being sought.” Weigand Decl. Exhibit H. Despite the representations to the federal court in

  California about 350 review hours, on September 9, 2015—five months after Defendants were

  obligated to produce it—the accountant produced just 83 pages, and this included the 14 page

  General Ledger. See Weigand Decl. Exhibit I.

         24.      On September 9, the accountant produced a copy of an incomplete XYZ General

  Ledger in .PDF format. The ledger had entries specifically referencing the Network Solutions

  giveaway (with the word “SPLIT”). During the accountant’s September 22 deposition,

  Verisign’s counsel asked specifically about these entries and what the word “SPLIT” meant in

  this context.

         25.      The accountant testified that

                                                                                . Weigand Decl.

  Exhibit J, Tr. 33:13-35:13. Verisign requested the Native file be produced:




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  Weigand Decl. Exhibit J, Tr. 92-93.

         The accountant explained that in the ordinary course of business, the General Ledger was

  sent to him by Defendants in an electronic—not .pdf—format:




  Weigand Decl. Exhibit J, Tr. 75:16-76:13.

         26.     Verisign has every reason to believe that Defendant Negari intentionally refused

  to disclose his full General Ledger in discovery—and that Defendant Negari encouraged the

  accountant to refuse to disclose the full General Ledger in native format to conceal material

  information about how he accounted for the Network Solutions transaction. The accountant’s

  lawyer—who also represents Defendant Negari—instructed the witness not to answer the

  question regarding who was paying his legal fees.3 Weigand Decl. Exhibit J, Tr. 90:2-19.


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   Eugene Rome has filed pro hac vice applications to appear as a lawyer for Daniel Negari in
  other matters in this Court. See Verisign, Inc. v. CentralNic Limited, et al., No. 1:15-cv-01028
  (E.D. Va.) (ECF 34).
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   Following the deposition, Verisign asked Defendants’ counsel to produce a native version of the

   QuickBooks ledger, but Defendants ignored these requests.

                                              ARGUMENT

          27.      Rule 37(b) authorizes the Court to impose discovery sanctions for failure to

   comply with a court order, including, among other things, ordering that certain facts be taken as

   established, prohibiting the sanctioned party from supporting or opposing claims or defenses,

   striking pleadings, and imposing costs. Fed. R. Civ. P. 37(b).

          28.      The Court must consider four factors: “(1) whether the non-complying party acted

   in bad faith, (2) the amount of prejudice that noncompliance caused the adversary, (3) the need

   for deterrence of the particular sort of non-compliance, and (4) whether less drastic sanctions

   would have been effective.” Anderson v. Found. For Advancement, Educ. & Employment of Am.

   Indians, 155 F. 3d 500, 504 (4th Cir. 1998); accord Belk v. Charlotte-Mecklenburg Bd. Of Educ.,

   269 F.3d 305, 348 (4th Cir. 2001) (en banc).

          29.      Here, Verisign and the Court have spent substantial time and effort dealing with

   Defendants’ discovery obstruction concerning Defendants’ financial information, and as a direct

   consequence, Verisign received a critical document (a 14-page General Ledger) five months

   later, after expert discovery closed, and Verisign has never received the complete and native

   format of this document (which is the way the document was used and which would reveal

   additional information, including metadata relating to the

                ). Verisign has obtained multiple orders in this Court and multiple orders in the

   federal court in California covering this document—and, when it was finally produced after the

   close of discovery, Verisign received a .pdf omitting key information that should have been

   produced in native format.



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          30.     The Fourth Circuit recognizes that “Metadata may be totally innocuous, such as

   formatting instructions and margin determinations, but sometimes metadata provides crucial

   evidence that is not available in a paper document…. The hidden text may reflect editorial

   comments, strategy considerations…. Metadata may provide information that a paper document

   would not provide or information that differs from a paper document. Metadata may also reveal

   that a document has been changed or backdated.” Country Vintner of North Carolina, LLC v.

   E&J Gallo Winery, Inc., 718 F.3d 249, 253 n.4 (4th Cir. 2013) (quoting Jennifer M. Smith,

   Electronic Discovery and the Constitution: Inaccessible Justice, 6 J. Legal Tech. Risk Mgmt.

   122, 138-39 (2012)).

          31.     Defendants repeatedly represented that they had produced all responsive materials

   to this Court—representations that, only after Verisign received an order compelling Defendants’

   accountant to produce documents in California—were unmasked as not accurate.

          32.     It is clear that Defendants have succeeded in depriving Verisign of critical

   information with trial less than three weeks away. Defendants have also succeeded in distracting

   Verisign from trial preparation by forcing Verisign to chase the information to which it was

   entitled for 5 months and now to file this motion.

          33.     An adverse inference jury instruction is the appropriate remedy in these

   circumstances. See Flame, S.A. v. Indus. Carriers, 2014 U.S. Dist. LEXIS 109954, at *40-42

   (E.D. Va. Aug. 8, 2014) (prohibiting certain evidence from being introduced, ordering costs, and

   holding certain evidence as established “because of FBP’s violation of the discovery orders, and

   because of its history of repeated abuses and non-compliance in this matter.”); Scott v. GMAC

   Mortg., LLC, 2011 U.S. Dist. LEXIS 40113, at *8-11 (W.D. Va. Apr. 13, 2011) (magistrate

   judge order granting attorneys’ fees and recommending that the court enter default judgment



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   against defendant regarding liability and, “in the event the case proceeds to trial, issue a jury

   instruction concerning Defendant’s failure to disclose, and informing the jurors that they may

   draw an adverse inference from such non-disclosure.”); S. New Eng. Tel. Co. v. Global NAPs,

   Inc., 251 F.R.D. 82, 96 (D. Conn. 2008) (ordering default judgment where all defendants

   willfully violated the court’s discovery orders by failing to turn over their General Ledgers and

   other business records, lying to the court about the inability to obtain documents from third

   parties, and destroying and withholding documents that were within the scope of discovery

   requests and orders).

                                               CONCLUSION

          WHEREFORE, Verisign respectfully requests that the Court:

          Give this instruction to the jury:

                  Verisign requested that .XYZ produce its financial information about the Network

                  Solutions transaction in discovery. Defendants’ General Ledger was responsive to

                  this discovery request and in fact contains financial information about the

                  Network Solutions transaction discussed in this case. This Court ordered .XYZ to

                  produce discovery in Native Format so that Verisign could view metadata that its

                  accountant testified existed that relates to the Network Solutions transaction.

                  Oftentimes metadata provides crucial evidence that is not available in a .PDF

                  document. Defendants violated this directive and produced an incomplete General

                  Ledger five months after it was due, which itself was a violation of the court

                  order; and further, the production of Defendants 14-page General Ledger was

                  produced in .PDF format, not Native Format, so that Verisign could not see the

                  complete General Ledger, including the document’s metadata. You the jury are



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                    entitled to conclude that this wrongfully withheld information would have

                    supported Verisign’s theory that




          Preclude Defendants from arguing at trial that they received

                                                                        ; and

          Award Verisign all costs and fees incurred in seeking to obtain documents related to

   Defendants’ accountant in this Court and the United States District Court for the Central District

   of California.

                                  LOCAL RULE 37 CERTIFICATE

          Plaintiff’s counsel states that prior to filing this Motion it has conferred in a good faith

   effort with Defendants’ counsel but was unable to reach agreement to resolve this dispute.



   Dated: October 16, 2015                       /s/
                                                 Randall K. Miller (VSB No. 70672))
                                                 Nicholas M. DePalma (VSB No. 72886)
                                                 Kevin W. Weigand (VSB No. 81073)
                                                 Taylor S. Chapman (VSB 81968)
                                                 VENABLE LLP
                                                 8010 Towers Crescent Drive, Suite 300
                                                 Tysons Corner, VA 22182
                                                 Phone: (703) 905-1404
                                                 Facsimile: (703) 821-8949
                                                 E-mail: rkmiller@venable.com
                                                 Counsel to Plaintiff VeriSign, Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 16th day of October, 2015, I will electronically file the
   foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
   of such filing (NEF) to the following:

                                Timothy J. Battle
                                524 King Street
                                Alexandria, VA 22320-4593
                                (703) 836-1216 Tel
                                (703) 549-3335 Fax
                                Email: tjbattle@verizon.net

                                Derek A. Newman
                                Newman Du Wors, LLP
                                100 Wilshire Boulevard, Suite 940
                                Santa Monica, CA 90401
                                310.359.8188 Tel
                                310.359.8190 Fax
                                Email: dn@newmanlaw.com
                                Counsel to Defendants XYZ.COM, LLC and Daniel Negari

          I further certify that on this 16th day of October, 2015, the foregoing will be served via
   hand-delivery on:

                                Timothy J. Battle
                                524 King Street
                                Alexandria, VA 22320-4593
                                (703) 836-1216 Tel
                                (703) 549-3335 Fax
                                Email: tjbattle@verizon.net
                                Counsel to Defendants XYZ.COM, LLC and Daniel Negari

                                               /s/
                                               Randall K. Miller (VSB No. 70672))
                                               Nicholas M. DePalma (VSB No. 72886)
                                               Kevin W. Weigand (VSB No. 81073)
                                               Taylor S. Chapman (VSB 81968)
                                               VENABLE LLP
                                               8010 Towers Crescent Drive, Suite 300
                                               Tysons Corner, VA 22182
                                               Phone: (703) 905-1404
                                               Facsimile: (703) 821-8949
                                               E-mail: rkmiller@venable.com
                                               Counsel to Plaintiff VeriSign, Inc.

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